           Case 2:19-mc-03895-ALB Document 4 Filed 10/29/19 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
              Plaintiff,                 )
                                         )
      v.                                 )   CASE NO. 2:19-mc-3895-ALB
                                         )
ROOT STAFF CORPORATION,                  )
BOSTON, MA,                              )
                                         )
              Garnishee,                 )
                                         )
MARCUS HURRY,                            )
                                         )
              Defendant.                 )


                                    ORDER

      This matter is before the Court on the United States’ motion to dismiss the

Application for Writ of Garnishment as inadvertently filed. (Doc. 3). Accordingly,

the motion is GRANTED and this action is DISMISSED.

      DONE and ORDERED this 29th day of October 2019.



                                           /s/ Andrew L. Brasher
                                      ANDREW L. BRASHER
                                      UNITED STATES DISTRICT JUDGE
